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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 IN THE MATTER OF THE SEARCH
 OF:

 THE OATH, INC. ACCOUNT
 ASSOCIATED WITH
 GFORBIDDENG@VERIZON.NET                              CASE NO.         1:21-mj-2478 TMD



                    AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

       I, Christine D. Carlson, being duly sworn, depose and state that:

       1.       I am a Special Agent with the Department of Homeland Security, Immigration and

Customs Enforcement, Homeland Security Investigations (HSI), assigned to the Special Agent in

Charge in Baltimore, Maryland. I have been so employed since June 1996. As part of my daily

duties as an HSI agent, I investigate criminal violations relating to child exploitation and child

pornography including violations pertaining to the illegal production, transportation, distribution,

receipt, and possession of child pornography, in violation of 18 U.S.C. §§ 2251, 2252 and 2252A.

I have received training in the area of child pornography and child exploitation and have had the

opportunity to observe and review numerous examples of child pornography (as defined in 18

U.S.C. § 2256) in all forms of media including computer media. I have also participated in the

execution of search warrants, which involved child exploitation and/or child pornography offenses.

I am currently assigned to the Maryland State Police Internet Crimes Against Children Task Force

(ICAC) which is comprised of federal, state and local law enforcement working jointly to combat

child exploitation in the State of Maryland.

       2.       I have received formal training from U.S. Customs and HSI and other agencies in

the area of child pornography, pedophile behavior, collectors of other obscene material and

Internet crime. This includes, but is not limited to, use of Internet facilities to produce child

pornography in violation of 18 U.S.C. § 2251(a), and possess child pornography in violation of 18

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U.S.C. § 2252A(a)(5)(B).

       3.       As a federal agent, I am authorized to investigate violations of laws of the United

States and is a law enforcement officer with the authority to execute warrants issued under the

authority of the United States.

       4.       This affidavit is made in support of an application for a warrant to search the

following (hereinafter referred to as the “TARGET ACCOUNT”):

            a. The Oath, Inc. account associated with the email address
gforbiddeng@verizon.net maintained by Oath, Inc., 22000 AOL Way, Dulles, VA 20166.

       5.       The TARGET ACCOUNT is to be searched for evidence of violations of Title 18,

United States Code, Section 2251(a) (production of child pornography) and Title 18, United States

Code, Section 2252A(a)(5)(B) (possession of child pornography) (hereinafter referred to as the

“TARGET OFFENSES”).

       6.       Since this affidavit is being submitted for the limited purpose of securing a search

warrant, I have not included each and every fact known to me concerning this investigation. I have

set forth only the facts that I believe are necessary to establish probable cause to believe that

evidence, fruits and instrumentalities of violations of the aforementioned federal statutes are

located in the TARGET ACCOUNT.

       7.       The information contained in this affidavit came from my own participation in the

inquiry described herein, as well as documents and reports prepared by other law enforcement

officers, including the Maryland State Police and other third parties, and in each instance, I have

identified the source of information upon which I have relied.

  SUMMARY CONCERNING CHILD PORNOGRAPHY, PERSONS WHO POSSESS
  AND COLLECT CHILD PORNOGRAPHY AND HOW USE OF COMPUTERS AND
 THE INTERNET RELATES TO THE POSSESSION, RECEIPT AND DISTRIBUTION
                     OF CHILD PORNOGRAPHY

       8.       Based upon my experience in child exploitation investigations and upon

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information provided me by other law enforcement officers, the following can be true of child

molesters/child pornographers:

               a.      Individuals who have a sexual interest in children or images of children may
receive sexual gratification, stimulation, and satisfaction from contact with children, or from
fantasies they may have viewing children engaged in sexual activity or in sexually suggestive
poses, such as in person, in photographs, or other visual media, or from literature describing such
activity.

                b.     Individuals who have a sexual interest in children or images of children may
collect sexually explicit or suggestive materials, in a variety of media, including photographs,
magazines, motion pictures, videotapes, books, slides and/or drawings or other visual media.
Individuals who have a sexual interest in children or images of children oftentimes use these
materials for their own sexual arousal and gratification. Further, they may use these materials to
lower the inhibitions of children they are attempting to seduce, to arouse the selected child partner,
or to demonstrate the desired sexual acts.

                c.     Individuals who have a sexual interest in children or images of children
frequently maintain their “hard copies” of child pornographic material, that is, their pictures, films,
video tapes, magazines, negatives, photographs, correspondence, mailing lists, books, tape
recordings, etc., in the privacy and security of their home or some other secure location.
Individuals who have a sexual interest in children or images of children typically retain pictures,
films, photographs, negatives, magazines, correspondence, books, tape recordings, mailing lists,
child erotica, and videotapes for many years.

                d.     Likewise, individuals who have a sexual interest in children or images of
children often maintain their collections that are in a digital or electronic format in a safe, secure
and private environment, such as a computer and surrounding area. These collections are often
maintained for several years and are kept close by, usually at the collector’s residence, or in online
storage, email accounts or other online communication accounts, to enable the individual to view
the collection, which is valued highly.

               e.     Individuals who have a sexual interest in children or images of children also
may correspond with and/or meet others to share information and materials, rarely destroy
correspondence from other child pornography distributors/collectors, conceal such
correspondence as they do their sexually explicit material, and often maintain lists of names,
addresses, and telephone numbers of individuals with whom they have been in contact and who
share the same interests in child pornography. This data is typically in digital format, and often
maintained on computers and in online storage, email accounts or other online communication
accounts.

                f.     Individuals who would have knowledge on how to distribute and receive
digital images of child pornography through the use of Peer to Peer networks and other online
methods would have gained knowledge of its location through online communication with others
of similar interest. Other forums, such as bulletin boards, newsgroups, IRC chat or chat rooms,


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have forums dedicated to the trafficking of child pornography images. Individuals who utilize
these types of forums are considered more advanced users and therefore more experienced in
acquiring a collection of child pornography images.

                g.     Individuals who have a sexual interest in children or images of children
prefer not to be without their child pornography for any prolonged time period. This behavior has
been consistently documented by law enforcement officers involved in the investigation of child
pornography.

       9.       Based on my investigative experience related to computer and internet related child

pornography investigations, and the training and experience of other law enforcement officers with

whom I have had discussions, I have learned the following:

                 a.     Computers and computer technology have revolutionized the way in which
child pornography is produced, distributed, and utilized. It has also revolutionized the way in
which child pornography collectors interact with each other. Child pornography formerly was
produced using cameras and film (either still photography or movies). The photographs required
darkroom facilities and a significant amount of skill in order to develop and reproduce the images.
As a result, there were definable costs involved with the production of pornographic images. To
distribute these on any scale also required significant resources. The photographs themselves were
somewhat bulky and required secure storage to prevent their exposure to the public. The
distribution of these wares was accomplished through a combination of personal contact, mailings,
and telephone calls. Any reimbursement would follow these same paths.

               b.       The development of computers and the internet have added to the methods
used by child pornography collectors to interact with and sexually exploit children. Computers
and the internet serve four functions in connection with child pornography. These are production,
communication, distribution, and storage.

                c.      Child pornographers can now transfer photographs from a camera onto a
computer-readable format. With the advent of digital cameras, the images can now be transferred
directly onto a computer. A device known as a modem allows any computer to connect to another
computer through the use of telephone, cable, or wireless connection. Electronic contact can be
made to literally millions of computers around the world. The ability to produce child pornography
easily, reproduce it inexpensively, and market it anonymously (through electronic
communications) has drastically changed the method of distribution and receipt of child
pornography.

                d.    Child pornography can be transferred via electronic mail or through file
transfer protocols (FTP) to anyone with access to a computer and modem. Because of the
proliferation of commercial services that provide electronic mail service, chat services (i.e.,
“Instant Messaging”), easy access to the Internet, and online file sharing and storage, the computer
is a preferred method of distribution and receipt of child pornographic materials.



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                e.      The Internet and its World Wide Web afford collectors of child pornography
several different venues for obtaining, viewing, and trading child pornography in a relatively
secure and anonymous fashion. Collectors and distributors of child pornography use online
resources to retrieve and store child pornography, including services offered by Internet Portals
such as AOL Inc., Yahoo!, Google, Inc., Facebook, Dropbox, and Instagram, among others. The
online services allow a user to set up an account with a remote computing service that provides e-
mail services, file exchange services, messaging services, as well as electronic storage of computer
files in any variety of formats. A user can set up an online storage account from any computer
with access to the Internet. Email accounts, online storage accounts, and other online
communication accounts allow users to save significant amounts of data, including e-mail, images,
videos, and other files. The data is maintained on the servers of the providers and is occasionally
retained by the providers after the user deletes the data from their account.

                f.      In my recent investigative experience, as well as recent discussions with law
enforcement officers, I know that individuals who collect child pornography are using email
accounts, online storage accounts, and other online communications accounts to obtain, store,
maintain, and trade child pornography with growing frequency, in addition to, or as an alternative
to, the use of personal devices.

       10.     Based on traits shared by collectors, the use of e-mail, online storage accounts, and

other online communication accounts, and the increased storage capacity of computers and server

space over time, there exists a fair probability that evidence regarding the production, receipt and

possession of child pornography will be found in the TARGET ACCOUNT, notwithstanding the

passage of time.

                                      PROBABLE CAUSE

       11.     On September 11, 2017, a Harford County Sheriff’s Deputy responded to

Walgreens, located at 1927 Emmorton Road, Bel Air, Maryland 21014. The sheriff’s deputy

arrived and spoke to a Walgreens photo clerk who had observed inappropriate photographs of

children on a customer’s phone while assisting the customer with locating and saving photos to be

printed from the customer’s cell phone. The Walgreens employee stated the individual had

uploaded approximately 300-400 photos onto the Walgreens photo kiosk. While assisting the

customer with printing images, the Walgreens employee observed images of two young children,

a boy, and a girl, naked with bruises and bite marks on their bodies. The employee also observed


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images that showed the boy’s and girl’s “butts.” The employee also observed nude images of the

customer, however, did not see images of the customer nude with the children. The Walgreens

employee identified the customer as Fernando Cristancho (“CRISTANCHO”). The Walgreens

employee provided the responding sheriff’s deputy with pictures of the two children as well as a

picture identified as the customer, CRISTANCHO.

       12.     On September 18, 2017, Master Trooper First Class Adam LeCompte, assigned to

the Harford County Internet Crimes Against Children Task Force/Child Advocacy Center

contacted the Walgreens employee who was able to re-affirm the descriptions of the photos. The

Walgreens employee believed the images depicted human bites on the buttocks of the minor male

child and that this minor was approximately 4 years old. The Walgreens employee believed the

minor female was approximately 6 years old. The Walgreens employee remembered the images

depicted the minor female with bruises and bite marks and with her underwear soaking wet.

       13.     On September 19, 2017, the Harford County Internet Crimes Against Children Task

Force executed a state search warrant at CRISTANCHO’s residence, located at 811 Hayden Way,

Bel Air, Maryland 21014. During the execution of the state search warrant numerous computer

devices were located and seized. During the execution of the search warrant, CRISTANCHO

arrived at his residence. CRISTANCHO was in possession of an iPhone 6s which he turned over

to investigators executing the search warrant. Maryland State Police Master Trooper Adam

LeCompte conducted a preview of this cell phone and discovered numerous images in the Google

Photos folder of the cell phone including several images of a prepubescent minor male. The minor

male has been identified and will be referred to as K.C., who was 2-3 years old at the time of the

photo. The images are all dated “Saturday, July 4, 2015.” The first image depicts Minor Victim

K.C. from the chest up, nude, leaning against a wall mirror. His reflection in the mirror also



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appears in the image. The second image also depicts K.C. leaning against a wall mirror. Minor

Victim K.C. is nude and his reflection is fully visible in the image and his genitals are exposed in

the reflection. The third image depicts K.C., nude, holding his genitals in the image. K.C.’s

midsection and genitals are visible in the image. In addition, there are two other images of K.C.

that depict the minor wearing a t-shirt or towel wrapped around his forehead. Only K.C.’s face

and head are visible in these images.

       14.       On February 1, 2018, HSI Special Agent Augustus Aquino applied for and obtained

a federal search warrant issued by the Honorable U.S. Magistrate Judge Beth P. Gesner to search

the digital devices, including the Apple iPhone 6s seized from CRISTANCHO’s residence. An

examination of this cell phone revealed numerous images of K.C. with his genitals exposed. In

addition, the information attached to the images indicates the photos were taken using an iPhone

5s and iPhone 6s in 2015 through 2017. By way of example, a description of one of these images

is as follows:

                 IMG_0022.JPG – depicts K.C. standing on a table, the image is a close-up of the
                 victim’s genitals and only the midsection and genitals are visible. This image is a
                 part of a series of images contained in the iPhone 6s that depicts K.C. standing on
                 a table and in the background the kitchen of the residence is visible.

The “metadata” for the image indicates it was taken using an iPhone 5s on March 10, 2015, when

K.C. was 2-3 years old.

       15.       During the examination of the iPhone 6s seized from CRISTANCHO, I also

observed several videos stored on this cell phone. By way of example, a description of the video

is as follows:

                 IMG_3682.MOV – depicts a nude minor male (believed to be K.C.) sitting on a
                 toilet with legs spread to expose his genitals in the video. The video is only several
                 seconds in length but at the end of the video a hand reaches into the video and grabs
                 the minor’s genitals.



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The metadata identifies the video was taken with an iPhone 6s on August 3, 2017. In addition, the

video contains location data indicating the file was produced at CRISTANCHO’s residence

located at 811 Hayden Way, Bel Air, Maryland 21014.

       16.     On February 21, 2018, CRISTANCHO was indicted by a federal Grand Jury in the

District of Maryland and charged with one count of Production of Child Pornography, in violation

of 18 U.S.C. § 2251(a). The single count indictment related to the video and associated files

described in paragraph 15 above.

       17.     In addition to the files described above, the examination of CRISTANCHO’s phone

and other digital storage devices found in his residence during the search warrant on September

19, 2017, the following images were located:

               a.       A series of 8 images of a female infant created on January 18, 2012. The
female has been identified and will be referred to as C.C. The images appear to be taken following
and bath, and the first 6 images depict C.C. wrapped in a hooded towel, in her mother’s arms, and
both of them are facing the camera. The seventh image depicts C.C.’s exposed buttocks, and the
8th image is a close-up image of C.C.’s inner thighs and exposed genitals;

               b.       A series of 15 images created in December 2012, that depict
CRISTANCHO, an adult female, a minor male and a minor female. The minor male has been
identified and will be referred to as J.C., and the minor female has been identified and will be
referred to as H.C. Both were 11 years old in December 2012. The series of photos starts with
CRISTANCHO, the adult female and J.C. on the couch, with J.C. wearing only shorts. As the
series continues, all three are still on the couch, and J.C. is nude, with his arms and legs spread
wide apart, exposing his genitals. Two images depict J.C. standing, nude, and in one of these, his
hands are on his inner thighs and his legs are spread, exposing his genitals. The next image is a
close up of J.C.’s midsection, J.C. is wearing underwear, and he is pulling his underwear away
from his body to expose his genitals, which are the focal point of the image. Another image depicts
H.C. from behind, with her pants at her knees, exposing her buttocks. The next image depicts
H.C., from the front, standing with her arms spread out to her side and her pants pulled down to
her knees, and her genitals exposed.

       18.     The examination of the cell phone indicated the Apple ID for the cell phone is

fdocristancho@gmail.com and lists the name of the cell phone as “Fernando’s iPhone”. The

telephone number associated with the iPhone 6s is listed as “410 937-1178.” Additionally, the



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phone    contained     emails   to/from    the      email   accounts   fdocristancho@gmail.com               and

gforbiddeng@verizon.net. Several logins to Verizon webmail were also located in the web

history on the iPhone.

        19.    On April 2, 2019, a search warrant was authorized for the Apple account associated

with    the    email      address     fdocristancho@gmail.com           and         the         email    account

fdocristancho@gmail.com.

        20.    The search warrants were served on Apple, Inc. and Google, Inc. via email or law

enforcement portal along with their respective attachments.

        21.    A review of the Google search warrant return for the email account

fdcristancho@gmail.com          revealed     the      recovery      email     for         the      account     as

gforbiddeng@verizon.net.         Additionally, there were several emails to the email account

gforbiddeng@verizon.net or where the email account gforbiddeng@verizon.net was copied on

an email contained within the email account fdcristancho@gmail.com. There were also searches

conducted within the Google account for “fucking teens,” “two young boys having sex,” and

“show me a dick masturbation” as well as web history searches for photos of boys having sex with

each other, how to masturbate if you’re a real boy and school boy masturbating himself and cums.

        22.    A     summons        was    issued     to    Oath,   Inc.,   for      the        email    account

gforbiddeng@verizon.net.         Oath, Inc. responded and provided the following subscriber

information:

               Mail Name:                          gforbiddeng@verizon.net
`              Account Status:                     active
               Registration Date:                  2017-02-07T11:31:12.000Z
               Full Name:                          Fernando Cristancho
               Country:                            US
               Zip/Postal Code:                    21014
               Recovery Phones:                    +14109371138 Unverified
                                                   +14109371178 Verified


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       23.     On June 23, 2021, CRISTANCHO was indicted by a federal Grand Jury in the

District of Maryland in a second superseding indictment and charged with one count of Coercion

and Enticement of a Minor, in violation of 18 U.S.C. § 2422(b), six counts of Production of Child

Pornography, in violation of 18 U.S.C. § 2251(a), and three counts of Possession of Child

Pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B).

                                    DSS INVESTIGATIONS

       24.     During the course of my investigation, through the review of records from the

Maryland Department of Social Services and the Harford County Child Abuse Center, I have

learned about two investigations into CRISTANCHO.

       2006 CAC Investigation of CRISTANCHO:

       25.      In 2006 the CAC conducted an investigation into allegations that CRISTANCHO

sexually abused his two biological sons, both age 5 at the time (one of these is J.C., referenced

above). The investigation determined that CRISTANCHO was “indicated” for sexually abusing

his sons. The term indicated means that there is credible evidence which has not been satisfactorily

refuted. No criminal charges were filed as a result of the investigation.

       2017 CAC Investigation of CRISTANCHO:

       26.      On September 14, 2017, Harford County DSS received a referral of new

allegations of sexual abuse and neglect by CRISTANCHO, relating to his biological children, K.C.

(4) and C.C (6). The allegation was that CRISTANCHO slept in a locked bedroom alone with his

son K.C., age 4, and that K.C.’s mother does not have access to the room.

                   REQUEST TO EXECUTE WARRANT AT ANY TIME

       27.     Because the warrant on the TARGET ACCOUNT will be served on Oath, Inc.,

which will then compile the requested records at a time convenient to each, reasonable cause exists


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to permit the execution of the requested warrant at any time in the day or night.

                                           SUMMARY

       28.     Based on my training and experience, as well as the images described above that

were located on CRISTANCHO’s devices, I believe that CRISTANCHO has a sexual interest in

children and displays characteristics common to individuals who access with the intent to view

and/or, possess, collect, receive, or distribute child pornography as discussed in paragraphs 8 and

9 above. Based on these characteristics and because the TARGET ACCOUNT appears to be

accessed, controlled and/or created by CRISTANCHO, I respectfully submit there is probable

cause that the TARGET ACCOUNT contains evidence (1) of production and/or possession of

child pornography, and (2) are relevant to determine the ownership and control of the accounts

that are linked to the production, receipt, and possession of child pornography. Based on my

training and experience, such information may constitute evidence of the TARGET OFFENSES

because the information can be used to identify the account’s user or users.

                                         CONCLUSION

       29.     Based on the foregoing information, I have probable cause to believe that

contraband, and evidence, fruits, and instrumentalities of violations of the TARGET OFFENSES

as set forth herein and in Attachment B, are currently contained in the TARGET ACCOUNT more

fully described in Attachment A. I therefore respectfully request that a search warrant be issued

authorizing a search of the TARGET ACCOUNT for the items described above and in Attachment

B and authorizing the seizure and examination of any such items found therein.

       30.     Pursuant to Title 18 U.S.C. 2703(g), the presence of a law enforcement officer is

not required for the service or execution of this warrant.




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                                                     CHRISTINE D  Digitally signed by
                                                    ____________________________
                                                     CARLSON      CHRISTINE D CARLSON

                                                    Special Agent Christine D. Carlson
                                                    Homeland Security Investigations




Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
Fed. R. Crim. P. and 41(d)(3) on this ______ day of August, 2021.



_____________________________________
HONORABLE THOMAS D. DIGIROLAMO
UNITED STATES MAGISTRATE JUDGE




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                                      ATTACHMENT A
                                         (Oath, Inc.)

       This warrant applies to information associated with the following Oath Inc. account:

       -    gforbiddeng@verizon.net;

which is stored at the premise owned, maintained, controlled, or operated by Oath, Inc., with

offices located at 22000 AOL Way, Dulles, VA 20166.




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                                         ATTACHMENT B
                                           (Oath, Inc.)

I.     Files and Accounts to be produced by Oath Inc. between February 7, 2017, to the present.

        Oath, Inc. shall disclose responsive data, if any by sending to Homeland Security Investigations,
40 South Gay Street, Third Floor, Baltimore, MD 21202, ATTN: Special Agent Christine Carlson, or
christine.d.carlson@ice.dhs.gov, using UPS or another courier service or email, notwithstanding 18
U.S.C. § 2252A or similar statute or code.

        To the extent that the information described in Attachment A is within the possession, custody, or
control of Oath, Inc. including any messages, records, files, logs, images, videos, or information that have
been deleted but are still available to Oath, Inc., Oath, Inc. is required to disclose the following information
to the government for each account or identifier listed in Attachment A:

        a.      The contents of all e-mails, attachments, and chat messages stored in the account described
in Attachment A, including copies of e-mails sent to and from the account, draft e-mails, the source and
destination e-mails sent addresses associated with each e-mail, the date and time at which each e-mail was
sent, and the size and length of each e-mail;

       b.      All existing printouts from original storage of all of the electronic mail described above in
Section I.A. above;

       c.       All internet search data including all queries and location data;

        d.      All transactional information of all activity of the electronic mail address described above
in Section I.A., including log files, dates, times, methods of connecting, ports, dial ups, and/or locations;

       e.     All records or other information stored by an individual using the account, including
address books, contact and buddy lists, calendar data, pictures, and files;

        f.       All records or other information regarding the identification of the account described above
in Section I.A., to include application, full name, physical address, telephone numbers, and other
identifiers, records of session times and durations, the date on which the account was created, the length
of service, the types of service utilized, the IP address used to register the account, log-in IP addresses
associated with session times and dates, account status, alternative e-mail addresses provided during
registration, all screen names associated with subscribers and/or accounts, all account names associated
with the subscriber, methods of connecting, log files, means and source of payment (including any credit
or bank account number), and detailed billing records;

       g.     All records indicating the services available to subscribers of the electronic mail address
described above in Section I.A.;

       h.      AIM conversation logs and files shared associated with the accounts listed in Attachment
A;


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       i.      Payment information, including billing address, shipping address, and payment
instruments, associated with any AOL or Oath, Inc. services used by the account listed in Attachment A.

II.    Information to be Seized by Law Enforcement Personnel

        a.      Any and all records that relate in any way to the account described in Attachment A which
is evidence, fruits, and instrumentalities of violations of Title 18 U.S.C.§§ 2251(a) and 2252A(a)(5)(B),
specifically that relate to the following:

               1.     Images, videos and other files depicting the production, distribution, receipt,
possession of or access with intent to view child erotica, child pornography, the sexual exploitation of
minors, sexually explicit conduct, and illicit sexual conduct;

               2.     Communications or documentations regarding the production, distribution, receipt,
possession of or access with intent to view child erotica, child pornography, the sexual exploitation of
minors, sexually explicit conduct, and illicit sexual conduct;

               3.      Communication or documentation regarding access to and/or interaction with
minors, to include the enticement of a minor;

               4.     Images depicting the interior or exterior of residences, public establishments, and
vehicles;

               5.      All images, messages, communications, calendar entries, and contacts, including
any and all preparatory steps taken in furtherance of these crimes;

               6.     Communication, information, documentation and records relating to who created,
used, controlled or communicated with the account or identifier, including records about their identities
and whereabouts;

               7.     Evidence of the times the account or identifier listed on Attachment A1 was used;

              8.      All images, messages and communications regarding wiping software, encryption
or other methods to avoid detection by law enforcement;

                9.     Passwords and encryption keys, and other access information that may be necessary
to access the account or identifier listed on Attachment A1 and other associated accounts;

             10.     Credit card and other financial information, including but not limited to, bills and
payment records evidencing ownership of the subject account;

       b.      All existing printouts from original storage which concern the categories identified in
subsection II.A; and

       c.      All “address books” or other lists;


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         With respect to the search of the information provided pursuant to this warrant by the above-
referenced provider, law enforcement personnel will make reasonable efforts to use methods and
procedures that will locate and expose those categories of files, documents, communications, or other
electronically-stored information that are identified with particularity in the warrant while minimizing the
review of information not within the list of items to be seized as set forth herein, to the extent reasonably
practicable. If after performing these procedures, the directories, files, or storage areas do not reveal
evidence of child pornography or other criminal activity, the further search of that particular directory,
file or storage area, shall cease.

        If the government identified any seized communication that may implicate the attorney-client
privilege, law enforcement personnel will discontinue its review and take appropriate steps to segregate
all potentially privileged information so as to protect it from substantive review. The investigative team
will take no further steps regarding any review of information so segregated absent further order of the
court. The investigative team may continue to review any information not segregated as potentially
privileged.




                                                 3
